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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

                                     )
THE UNIVERSITY OF FLORIDA            )
RESEARCH FOUNDATION, INC.,           )
                                     )
                                     )
                 Plaintiff,          )
                                     )   Civil Action No. 1:17-cv-00171-MW-
v.                                   )   GRJ_____
                                     )
GENERAL ELECTRIC COMPANY,            )
GE MEDICAL SYSTEMS                   )
INFORMATION TECHNOLOGIES,            )
INC., and GE MEDICAL SYSTEMS,        )
INC.,                                )
                                     )
                 Defendants.         )


       DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS FOR
            UNPATENTABILITY UNDER 35 U.S.C. § 101
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                             I.     INTRODUCTION
      The claims of U.S. Patent No. 7,062,251 (the “’251 patent”) do not pass

muster under either step of the two-step test for patent eligibility set forth in Alice

Corp. Pty. Ltd. v. CLS Bank Int’l, 573 U.S. ---, 134 S. Ct. 2347 (2014). The ’251

patent “computerizes” what medical workers have done for ages – writing down

and integrating bedside patient data using pencil and paper. The claims of the ’251

patent are directed to collecting physiologic data from multiple patient monitoring

devices, manipulating it, and displaying it. This functionality is achieved using

conventional “bedside machines,” a “computing device,” and a “graphical user

interface.” (’251 patent, claim 1.) As drafted, these claims use generic computer

components and technology and fail under both steps of the Alice test. As a result,

this infringement action must be dismissed.

      In applying Alice’s two-step test for identifying ineligible patent claims, a

court first determines whether the claims are directed to one of the patent-ineligible

concepts—laws of nature, natural phenomena, or abstract ideas. Alice, 134 S. Ct.

at 2355 (citing Mayo Collaborative v. Prometheus Labs, 132 S. Ct. 1289, 1296–97

(2012)). If the claims involve a patent-ineligible concept, a court next considers

the elements of the claims, both individually and as an ordered combination, to

determine whether those elements transform the concept into something that is a

patent-eligible application. Id. (citing Mayo, 132 S. Ct. at 1297–98).



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       Examining the claims of the ’251 patent at Alice step one reveals that their

“character as a whole” is directed to an abstract concept. Internet Patents Corp. v.

Active Network, Inc., 790 F.3d 1343, 1346 (Fed. Cir. 2015). The steps of asserted

claim 1, for example, involve “receiving” physiologic treatment data from bedside

machines, “converting” the data to a “machine independent format,” performing a

“programmatic action” involving the data, and presenting the results on a bedside

“graphical user interface.” As these highly generalized steps demonstrate, the

claims are directed to the patent-ineligible abstract concepts of “collecting,

displaying, and manipulating data.” Intellectual Ventures I LLC v. Capital One

Fin. Corp., 850 F.3d 1332, 1340 (Fed. Cir. 2017).

       Further confirming their abstract nature, the claims do not purport to

improve the functionality of computers, but instead use generic computer

components as tools to carry out an abstract process. The absence of meaningful

technical detail in the claims or the specification describing how to achieve the

claimed conversion of data from “a machine specific format into a machine

independent format” (claim 1) reaffirms that the claims are drawn to the abstract

idea itself.

       And, as for Alice step two, the elements of the asserted claims, viewed

individually and as an ordered combination, provide no inventive concept. Instead,

they recite generic components such as conventional “bedside machines,” a



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“computing device,” and a “graphical user interface.” The claims do not disclose

any unique arrangement of these conventional components or any details regarding

their operation. Instead, these components simply perform their basic functions

and provide a generic computing environment in which the abstract concept is

carried out. Thus, because the claims of the ’251 patent fail both steps of the Alice

test, they are invalid.

       Defendants General Electric Company, GE Medical Systems Information

Technologies, Inc., and GE Medical Systems, Inc. (“GE” or “Defendants”)

therefore respectfully request that this action be dismissed.

                              II.    BACKGROUND
A.     The ’251 Patent Teaches Abstract Methods and Systems for Collecting,
       Manipulating and Displaying Data
       The ’251 patent relates to integrating data from different manufacturers’

patient monitoring machines and presenting this data in a graphical user interface.

(’251 patent, abstract.) Thus, the idea at the heart of the ’251 patent is the age-old

concept of integrating information. (Id., providing “[a] method of integrating

physiologic data…”)

       The inventors acknowledge that prior art methodologies for integrating

bedside patient information have long existed. They note that these include “pen

and paper methodologies” used by medical staff to record physiologic data from

bedside machines onto paper documents such as “flowsheets and patient charts.”


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(’251 patent, 1:21-23.)     Medical staff continued to use these pen and paper

methodologies because, according to the ’251 patent, monitoring machines

“follow[ed] no open standards” and “transmit[ted] data in a proprietary manner

using different data formats and protocols,” leading to “data integration

difficulties.”   (Id., 2:17-31.)   Purported drawbacks of these pen and paper

methodologies included that they were “very time-consuming and expensive,”

resulted in “transcription errors,” and limited the access to or usefulness of the

recorded data for clinical research purposes. (Id., 1:37-2:16.)

       The inventors also acknowledge prior art non-pen and paper systems for

integrating bedside patient information. These systems could “centrally present

physiologic data gathered from multiple sources.”           (’251 patent, 2:37-38.)

However, according to the ’251 patent, these systems could only communicate

with other bedside machines using the same proprietary protocol, thus restricting

the ability to integrate other physiologic data from external sources. (Id., 2:38-46.)

Other prior art systems also acquired data from bedside machines, but according to

the ’251 patent, they used a proprietary physical connection and did not address

“workflow issues.”      (Id., 2:58-61.)    Prior art “presentation mechanisms for

physiologic data” also existed, but the ’251 patent asserts that they could not be

configured to present the data in a way that “optimize[d]” physician




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comprehension. (Id., 2:62-64.) Also supposedly lacking were “mechanisms to

facilitate data extraction to be used for clinical research.” (Id., 2:65-67.)

      The ’251 patent’s proposed solution is “[a] method of integrating

physiologic data including receiving physiologic treatment data from at least two

bedside machines and converting the physiologic treatment data into a machine

independent format.” (’251 patent, abstract.) Figure 2 of the ’251 patent depicts

an integration system 200 in accordance with the claimed invention. (Id., 6:62-7:1,

Fig. 2.) Among other things, it includes a bedside device 205, a centralized data

repository (“CDR”) 230, and bedside machines 235. (Id.)




      Each bedside machine 235 can be a sensor of physiologic data that “can

determine one or more parameters relating to the health of a patient,” including, for

example, a blood gas monitor, a pulse oximeter and the like. (’251 patent, 5:51-57,


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7:1-4.)   The bedside machines convey data to a bedside device 205 using a

proprietary protocol. (Id., 7:11-13, 2:25-30.) The bedside device (which can be an

ordinary computer) can use a “driver” to “translate the data stream into content that

can be relayed across a network” and provide the data to a CDR. (Id., 7:14-17,

7:28-31, 7:45-56.) The CDR uses cross-reference tables to convert the data to a

“standardized” or machine-independent format and synchronizes the data with data

from other bedside machines, as well as other medical systems. (Id., 8:36-62.)

      As an example, the ’251 patent describes converting a value from the

machine-specific format of a “floating-point variable” (i.e., a number that can

contain a fractional point, such as 7.85) to the standardized machine-independent

format of an “integer variable.” (Id., 8:52-58.) The standardized data can be

stored, copied, conveyed to the bedside device for display via a graphical user

interface (“GUI”), or provided to other data sources. (Id., 8:40-45, 8:66-67, 9:52-

64, 11:24-50, Fig. 5.)

      Notably, the inventors of the ’251 patent concede that the claimed invention

is implemented with generic and conventional components. For instance, the

specification acknowledges that “[a]ny kind of computer system or other apparatus

adapted for carrying out the methods described herein is suited,” including “a

general-purpose computer system with a computer program that, when being

loaded and executed, controls the computer system such that it carries out the



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methods described herein.” (’251 patent, 13:26-37.) It further acknowledges that

the “invention can be realized in hardware, software, or a combination of hardware

and software.” (Id., 13:26-27.) The software of the claimed invention is likewise

generic and functionally described. As the patent states, “[t]he present invention

also can be embedded in a computer program product, which comprises all the

features enabling the implementation of the methods described herein, and which

when loaded in a computer system is able to carry out these methods.” (Id., 13:38-

42.) This generic “computer program” could be “any expression, in any language,

code or notation, of a set of instructions intended to cause a system having an

information processing capability to perform a particular function either directly or

after either or both of the following: a) a conversion to another language, code or

notation; b) reproduction in a different material form.”       (Id., 13:42-48.)   No

programming or any meaningful technical detail is disclosed.

      Other claim components discussed in the specification are likewise generic

and conventional. The “bedside machine,” for example, can be any of a wide

variety of conventional sensors, such as “a blood gas monitor, an infusion pump, a

physiological monitor, a pulse oximeter, a flowmeter, a ventilator, an automated

patient care bed, a thermocouple probe, and the like.” (’251 patent, 5:51-57.) The

“bedside device” can be any ordinary “computing device,” such as “a computer”

that accesses and organizes patient data, or alternatively “a communication portal”



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that reconciles data streams between local equipment and a network. (Id., 7:14-

20.) The CDR is a generic centralized data repository, and its functionality could

be carried out instead by the bedside machine. (Id., 6:64-7:1, 9:6-8.) And, the

GUI is boundlessly described as any of a “variety of different GUI types and

arrangements of data entry, fields, selectors and controls….” (Id., 13:15-25.)

B.    The Claimed Invention Is Abstract
      Plaintiff specifically cites only one claim of the ’251 patent in its complaint:

claim 1. (See Dkt. 1, ¶¶97-102.) GE agrees that this claim is representative.

      Claim 1 provides:

           1. A method of integrating physiologic treatment data
      comprising the steps of:

            receiving physiologic treatment data from at least two bedside
               machines;

            converting said physiologic treatment data from a machine
               specific format into a machine independent format within a
               computing device remotely located from said bedside
               machines;

            performing at least one programmatic action involving said
               machine-independent data; and

            presenting results from said programmatic actions upon a
               bedside graphical user interface.

      Stripped of excess verbiage, claim 1 involves collecting data from bedside

machines, converting the data to a machine independent format, performing a

programmatic action involving the data, and displaying the results on a graphical


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user interface. The remaining claims of the ’251 patent do not meaningfully add to

or limit the scope of claim 1.

      Each claim is directed to collecting, manipulating and displaying data using

generic computer components. They therefore invoke an abstract idea without

adding any inventive concept. They recite no details on the manner in which the

recited conventional technologies are used, other than according to their ordinary

functions, and disclose no additional features sufficient to transform this abstract

idea into a patent-eligible application.

                           III.   LEGAL STANDARDS
      Patent eligibility under § 101 is a question of law suitable for resolution on a

motion to dismiss. OIP Techs., Inc. v. Amazon.com, Inc., 788 F.3d 1359, 1362

(Fed. Cir. 2015); Content Extraction & Transmission LLC v. Wells Fargo Bank,

Nat‘l Ass’n, 776 F.3d 1343, 1345 (Fed. Cir. 2014), cert. denied, 136 S. Ct. 119

(2015) (affirming finding of ineligibility made on 12(b)(6) motion); Digital Media

Tech., Inc. v. Amazon.com, Inc., No. 4:16cv244-MW/CAS, Dkt. 72 (N.D. Fla. July

3, 2017) (granting 12(b)(6) motion to dismiss on grounds of patent ineligibility);

Voter Verified Inc. v. Election Systems & Software LLC, No. 1:16cv267-MW/GRJ,

Dkt. 25 (N.D. Fla. March 21, 2017) (same). In ruling on a motion to dismiss, the

court “must accept the factual allegations in the complaint as true and construe

them in the light most favorable to the plaintiff.” Alvarez v. ICE, 818 F.3d 1194,



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1200 (11th Cir. 2016). However, “the tenet that a court must accept as true all of

the allegations contained in a complaint is inapplicable to legal conclusions….”

Ashcroft v. Iqbal, 556 U.S. 662, 667 (2009) (citing Bell Atl. Corp. v. Twombly, 550

U.S. 544, 556 (2007)).

                               IV.   ARGUMENT
A.    The ‘251 Patent Claims Are Ineligible Under 35 U.S.C. § 101

     1.     The ‘251 Patent Claims Fail Alice Step One Because The Claims
            Are Directed To An Abstract Concept
      Step one of the Alice two-step test requires an examination of claims to

determine whether their “focus” or “character as a whole” is directed to excluded

subject matter. Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1353 (Fed.

Cir. 2016); Alice, 134 S. Ct. at 2355-56. The goal of this step is to identify the

basic concept at the “heart” of the claims. See Ultramercial, Inc. v. Hulu, LLC,

772 F.3d 709, 714–15 (Fed. Cir. 2014) (abstract idea at the “heart” of eleven-step

claim was using advertising as an exchange or currency).

      Here, examining claim 1 of the ’251 patent confirms that it is focused on

collecting, manipulating and displaying information. It therefore falls into the

“familiar class of claims” that the Federal Circuit has repeatedly held are directed

to the patent-ineligible abstract concepts of collecting information, analyzing it,

and displaying certain results of the collection and analysis. Elec. Power Grp., 830

F.3d at 1353. Intellectual Ventures I LLC v. Capital One Financial Corp., 850


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F.3d 1332 (Fed. Cir. 2017), for example, involved an abstract concept very similar

to the one here and is illustrative of this pervasive line of authority. There, the

representative claim was to an “apparatus for manipulating XML documents.” Id.

at 1339. The claim elements included (1) a processor, (2) a component that

organizes data components of one or more XML documents into data objects, (3) a

component that identifies a plurality of primary record types for the XML

documents, (4) a component that maps the data components of each data object to

one of the plurality of primary record types, (5) a component that organizes the

instances of the plurality of primary record types into a hierarchy to form a

management record type, (6) a component that defines a dynamic document for

display of an instances of a management record type through a user interface, and

(7) a component that detects modification of the data in the dynamic document via

the user interface, and in response thereto modifies a data component in an XML

document. Id.

      Despite the prolixity of the claim language, the Federal Circuit held that the

claims were directed to the abstract idea of “collecting, displaying, and

manipulating data.”    Intellectual Ventures I, 850 F.3d at 1340.         The court

analogized the claims to other ineligible claims reciting similar data manipulation

steps, such as those in Content Extraction, 776 F.3d at 1347, Intellectual Ventures I

LLC v. Capital One Bank (USA), 792 F.3d 1363, 1347 (Fed. Cir. 2015), and



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Electric Power Group, 830 F.3d at 1353–54. Id. For instance, it noted that the

analogous invention in Content Extraction involved “extracting data from a

document, entering the data into appropriate data fields, and storing data in

memory,” and thus was directed to the abstract concept of “‘1) collecting data, 2)

recognizing certain data within the collected data set, and 3) storing that

recognized data in a memory.’” Id. (quoting Content Extraction, 776 F.3d at

1347). It also highlighted similarities to the ineligible invention in Capital One

Bank, which involved “customizing information and presenting it to users based on

particular characteristics.” Id. (citing Capital One Bank, 792 F.3d at 1370). And it

pointed to the comparably abstract claims in Electric Power Group, which were

directed to “collection, manipulation, and display of data.” Id. (citing Elec. Power

Grp., 830 F.3d at 1353–54.

      Particularly relevant here, the Federal Circuit rejected the patentee’s

argument that the invention was not abstract because it “relates to a specialized

computer language – XML – and renders otherwise incompatible documents

compatible through a unique dynamic document” based on data structures recited

by the claims. In other words, just like claim 1 of the ’251 patent, the patent in

Intellectual Ventures I involved the manipulation of data to render otherwise

incompatible information compatible. This was not enough to save the claims

from abstraction because “the underlying concept embodied by the limitations



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merely encompasses the abstract idea itself of organizing, displaying, and

manipulating data of particular documents.” Intellectual Ventures I, 850 F.3d at

1341.

        Thus, as in Intellectual Ventures I and the litany of analogous Federal

Circuit decisions it cites, the claims of the ’251 patent are directed to an abstract

concept: collecting, manipulating and displaying information. See also In re TLI

Commc’ns LLC Patent Litig., 823 F.3d 607, 613 (Fed. Cir. 2016) (holding claims

to classifying and storing digital images in an organized manner to be abstract);

Digitech Image Techs., LLC v. Elecs. for Imaging, Inc., 758 F.3d 1344, 1350 (Fed.

Cir. 2014) (finding that “a process of organizing information through mathematical

correlations” is an abstract idea); CyberSource Corp. v. Retail Decisions, Inc., 654

F.3d 1366, 1375 (Fed. Cir. 2011) (finding claimed process to “manipulate[ ] data to

organize it in a logical way” was not sufficiently transformative to state a patent

eligible invention); Intellectual Ventures I LLC v. T-Mobile USA, Inc., No. 13-

1632, 2017 WL 3706495, *9-10 (D. Del. Aug. 23, 2017) (patent directed to

“converting a multimedia message into a common format – an email message – for

sending to another party and then converting the received common format back

into [a] multimedia message” covered an abstract idea because it addressed the

problem of “incompatibility in communication,” which “has existed ever since

human languages diverged”); Parus Holdings, Inc. v. Sallie Mae Bank, 137 F.



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Supp. 3d 660, 673 (D. Del. 2015), aff’d 677 F. App’x 682 (Fed. Cir. Feb. 27, 2017)

(patent that plaintiff characterized as “unifying different types of electronic voice

and data communication systems” held to be directed to abstract idea of

“organizing human (business) activity.”); see also RecogniCorp, LLC v. Nintendo

Co., 855 F.3d 1322, 1326 (Fed. Cir. 2017) (“This method reflects standard

encoding and decoding, an abstract concept long utilized to transmit

information.”).

      To the extent the ’251 patent claims purport to describe an advance, it is on

collecting, manipulating and displaying information of a specified content, and not

on any particular inventive technology for performing any of those functions. That

is the essence of an abstract idea. Elec. Power Grp., 830 F.3d at 1354; see also

1355 (“[M]erely selecting information, by content or source, for collection,

analysis, and display does nothing significant to differentiate a process from

ordinary mental processes….”).1


      1
        Although the Court need not analyze unasserted claims because they are
substantially similar to representative claim 1 and linked to the same abstract idea,
Content Extraction, 776 F.3d at 1348, those claims also confirm there is nothing
concrete. Segmenting data into discrete elements before converting it to a standard
format (claims 2 and 3), removing certain information and storing other
information (claim 4), and responding to a request from a GUI (claim 5) are not
meaningfully distinguishable from processes and systems for data collection and
manipulation that the Federal Circuit has repeatedly held to be abstract. See, e.g.,
Elec. Power Grp., 830 F.3d at 1353–54 (collecting cases). Rearranging, adding or
subtracting the conventional devices and systems involved in the collection,
manipulation and display of data (claims 6 through 13) does not render the claims

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      If more were needed, the ’251 patent claims’ failure to recite the technical

details for how to achieve the claimed converting of physiologic treatment data

“from a machine specific format into a machine independent format” further

confirms that the claims are directed to an abstract concept. The claims do not

explain or limit how the computer would be programmed or provide any other

meaningful technical detail for accomplishing these functions. The specification

eligible either. See, e.g., Alice, 134 S. Ct. at 2351 (invalidating claims under § 101
where “the system claims recite a handful of generic computer components
configured to implement the same idea” as method claims). For example,
rearranging the generic devices of claim 1 by including only one bedside machine,
adding that the bedside computing device is linked to the bedside machine and a
network, and requiring a CDR linked to the bedside computing device to perform
the data conversion step (claim 6) does not save the claim from abstraction.
Neither does adding a generic “physiologic information system” (claim 7) or a
clinical research information system that can access data from the bedside
machines (claim 8). For the same reason, reciting at least two bedside machines
using different data conventions and requiring that the CDR be linked to the
bedside machines instead of the bedside computing device (claim 9) does not alter
the result at Alice step one. The same holds true for claim 10, which adds a generic
bedside computing device with a “black box” bedside machine driver to facilitate
data exchanges, and claim 11, which merely adds that the bedside computing
device is configured to perform the generic functionality of communicating data
with a laboratory information system, hospital information system, or pharmacy
information system. Claims 12 and 13 provide nothing patent eligible either. They
add a machine-specific data store linked to the CDR that has at least one table for
cross-referencing machine-specific data to standardized data (claim 12) or for
cross-referencing database-specific data to standardized data (claim 13).
Converting data using tables is abstract and ineligible. Gottschalk v. Benson, 409
U.S. 63, 64 (1972). Finally, recasting method claims as “machine-readable
storage” claims (claims 14 through 18) does not render them non-abstract. See,
e.g., Alice, 134 S. Ct. at 2351 (“Because petitioner's system and media claims add
nothing of substance to the underlying abstract idea, they too are patent ineligible
under § 101.”).


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does not provide this disclosure, either, and instead simply parrots the functions of

the claims in schematics and depictions of various user interface screens. In short,

“[t]he specification fails to provide any technical details for the tangible

components, [and] instead predominantly describes the system and methods in

purely functional terms,” a telltale sign that the claims are abstract.          TLI

Commc’ns, 823 F.3d at 612. From this perspective, the claims recite the same type

of purely functional language that routinely has been held to reflect an abstract

idea. See, e.g., Affinity Labs of Tex., LLC v. DirecTV, LLC, 838 F.3d 1253, 1258

(Fed. Cir. 2016) (“There is nothing in claim 1 that is directed to how to implement

out-of-region broadcasting on a cellular telephone. Rather, the claim is drawn to

the idea itself.”) (emphasis in original); Vehicle Intelligence & Safety LLC v.

Mercedes-Benz USA, LLC, 635 F. App’x 914, 918 (Fed. Cir. 2015), cert. denied, –

– U.S. ––, 136 S. Ct. 2390 (2016) (patent lacked “any details about how the ‘expert

system’ works….”); Affinity Labs of Tex., LLC v. Amazon.com, 838 F.3d 1266,

1269–70 (Fed. Cir. 2016) (“The purely functional nature of the claim confirms that

it is directed to an abstract idea….”).2


2
  The fact that the claims could be carried out in the human mind or by pencil and
paper further demonstrates that they are abstract. See, e.g., Planet Bingo, LLC v.
VKGS LLC, 576 F. App’x 1005, 1007–08 (Fed. Cir. Aug. 26, 2014) (employing
similar analysis to conclude that claims involving “computer-aided” methods and
systems for managing the game of bingo were abstract); Capital One Bank (USA),
792 F.3d at 1368 (claims directed to budgeting calculations unpatentable where
calculations ‘could still be made using a pencil and paper’ with a simple

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      By stark comparison, the asserted claims do not share the specific features

directed to improving computer technology that are needed to pass muster under

step one. See, e.g., Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1339 (Fed. Cir.

2016) (self-referential table for computer database that comprised “a specific type

of data structure designed to improve the way a computer stores and retrieves data

in memory.”); McRO, Inc. v. Bandai Namco Games Am. Inc., 837 F.3d 1299, 1314

(Fed. Cir. 2016) (finding claims eligible where they recited particularized set of

rules for achieving automated lip-synchronization of 3-D characters that were

“focused on a specific asserted improvement in computer animation, i.e., the

automatic use of rules of a particular type.”); Amdocs (Israel) Ltd. v. Openet

Telecom, Inc., 841 F.3d 1288, 1300 (Fed. Cir. 2016) (finding claims eligible where

they recited “an unconventional technological solution (enhancing data in a


notification device.”) (internal citation omitted). Indeed, the ’251 patent concedes
that the claimed method replaces “pen and paper methodologies [that] have been
used for recording physiologic data….” (’251 patent, 2:17-19; see also 1:21-23.)
Plaintiff’s conclusory and irrelevant argument in the complaint that the claims
“collect, manipulate, interpret, and display information in a manner that could not
be and was not performed by humans,” even if true, does not render the claims
non-abstract. See Synopsys, Inc. v. Mentor Graphics Corp., 839 F.3d 1138, 1150
(Fed. Cir. 2016) (holding claims to be ineligible and stating: “[t]hat a human circuit
designer may not use the specific method claimed when translating a functional
description of a logic circuit into a hardware component description of the logic
circuit as Synopsys contends does not change this result.”); see Versata Dev. Grp.,
Inc. v. SAP Am., Inc., 793 F.3d 1306, 1335 (Fed. Cir. 2015) (“Courts have
examined claims that required the use of a computer and still found that the
underlying, patent-ineligible invention could be performed via pen and paper or in
a person’s mind.”).

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distributed fashion) to a technological problem (massive record flows which

previously required massive databases).”); Visual Memory LLC v. Nvidia Corp.,

No. 2016-2254, 2017 WL 3481288, *5 (Fed. Cir. Aug. 15, 2017) (finding claims

eligible where they recited “a new, improved and more efficient memory

system.”).

      Unlike in Enfish, McRO, Amdocs, and Visual Memory, the ’251 patent

claims do not purport to improve anything about how a computer operates. The

claims in this case recite no rules or anything of that kind, do not purport to

improve any technological process, and do not require their generic components to

operate in an unconventional manner to achieve an improvement in computer

functionality. Instead, the claims here merely “organiz[e] [existing] information

into a new form,” which is the hallmark of an abstract idea. Digitech, 758 F.3d at

1351. In fact, the ’251 patent admits that it could be implemented with “[a]ny kind

of computer system” such as a “general-purpose computer system with a computer

program” that carries out the claimed methods (’251 patent at 13:31-35), that the

computer program can be “any expression, in any language, code or notation, of a

set of instructions” performing the claimed functionality (id. at 13:42-48), and that

the GUI could be “any of a variety of different GUI types and arrangements of data

entry, fields, selections, and controls” (id. at 13:18-21). And while it refers to

“drivers” and data conversion “tables,” (id. at 7:48-56, 8:46-62), the ’251 patent



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does not disclose the programming or other technical details required for those

components or to otherwise achieve the functions of the claims, and there is

nothing to indicate that the computer activity disclosed by the asserted patents is

anything other than routine.

      On balance, claims like the ones asserted in this case create unacceptable

preemption concerns because they “are not directed to a specific invention and

instead improperly monopolize ‘the basic tools of scientific and technological

work.’” McRO, 837 F.3d at 1314 (quoting Alice, 134 S. Ct. at 2354). That is why

the eligibility analysis looks “to whether the claims in these patents focus on a

specific means or method that improves the relevant technology or are instead

directed to a result or effect that itself is the abstract idea and merely invoke generic

processes and machinery.” McRO, 837 F.3d at 1314 (emphasis added). In this

case, people have long acquired bedside patient information.            In the modern

context, the basic tool for integrating such information is a computer. As drafted,

the claims of the asserted patents reach too far – they attempt to monopolize “basic

tools of scientific and technological work.” Id. From any perspective, therefore,

the asserted claims fail under Alice step one.

     2.     The ’251 Patent Claims Fail Alice Step Two
      In applying Alice step two, a court looks at the elements of each claim “both

individually and ‘as an ordered combination’ to determine whether the additional



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elements ‘transform the nature of the claim’ into a patent-eligible application.”

Alice, 134 S. Ct. at 2355 (quoting Mayo, 132 S. Ct. at 1297–98). “A claim that

recites an abstract idea must include ‘additional features’ to ensure ‘that the [claim]

is more than a drafting effort designed to monopolize the [abstract idea].’ ” Id. at

2357 (quoting Mayo, 132 S. Ct. at 1297). “[S]imply appending conventional steps,

specified at a high level of generality, to … abstract ideas cannot make those …

ideas patentable.” Mayo, 132 S. Ct. at 1300. In addition, “the prohibition against

patenting abstract ideas cannot be circumvented by attempting to limit the use of

[the idea] to a particular technological environment.” Alice, 134 S. Ct. at 2358

(quoting Bilski v. Kappos, 561 U.S. 593, 610–11 (2010)); see also DirecTV, 838

F.3d at 1259 (“[M]erely limiting the field of use of the abstract idea to a particular

existing technological environment does not render the claim any less abstract.”).

      Here, the conventional components of the claims provide no inventive

concept. The generic “bedside machines” and “computing device” of the claims

behave    as   expected,   performing     “well-understood,    routine   conventional

activit[ies]” to implement the underlying abstract idea. Mayo, 132 S. Ct. at 1298.

The patent admits this, stating that the claims employ a “general-purpose”

computer system with a “computer program” comprising “any expression…of a set

of instructions” to perform the functional steps of the claims (’251 patent, 13:42-

48). This generic computer implementation simply is not enough to transform a



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patent-ineligible abstract idea into a patent-eligible invention. See, e.g., Alice, 134

S. Ct. (finding a “data processing system” to be purely functional and generic);

Planet Bingo, 576 F. App’x at 1008–09 (finding “a computer with a central

processing unit,” “a memory,” an “input and output terminal,” and “a printer” to be

merely generic); DirecTV, 838 F.3d at 1263 (finding claims invalid that “simply

recite[] that the abstract idea of remote delivery will be implemented using the

conventional components and functions generic to cellular telephones.”) Because

these claim elements “simply provide the environment in which the abstract

idea…is carried out,” they provide no inventive concept. TLI Commc’ns, 823 F.3d

at 614.

      “[C]onverting said physiologic treatment data from a machine specific

format into a machine independent format” provides no inventive concept either

because “[it] merely describe[s] the functions of the abstract idea itself, without

particularity.” Intellectual Ventures I, 850 F.3d at 1341; see also Apple, Inc. v.

Ameranth, Inc., 842 F.3d 1229, 1242 (Fed. Cir. 2016) (finding claimed software to

be non-inventive, noting that “difficulty of the programming details for this

functionality is immaterial because these details are not recited in the actual

claims.”); Planet Bingo, 576 F. App’x at 1008–09 (“program…enabling” the steps

of managing a game of bingo recited generic computer implementation of abstract

idea). “This is simply not enough under step two.” Intellectual Ventures I, 850



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F.3d at 1341; see also Alice, 134 S. Ct. at 2359 (holding claims to be patent

ineligible where “each step does no more than require a generic computer to

perform generic computer functions”) (internal quotation marks, citation omitted);

Ultramercial, 772 F.3d at 716 (“Adding routine[,] additional steps … does not

transform an otherwise abstract idea into patent-eligible subject matter.”); Bancorp

Servs., LLC v. Sun Life Assur. Co. of Can. (U.S.), 687 F.3d 1266, 1278 (Fed. Cir.

2012) (appending generic computer components does not “salvage an otherwise

patent-ineligible process”).   Indeed, the underlying concept embodied by that

limitation “merely encompasses the abstract idea itself” of receiving, manipulating

and displaying information. Intellectual Ventures I, 850 F.3d at 1341.3


3
  Although the Court need not examine the substantially similar unasserted claims,
those claims, too, reinforce that there is no inventive concept here. The “machine-
readable storage” claims (claims 14 through 18) include the same elements as
representative claim 1 and are non-inventive for the same reasons. Segmenting
data into discrete elements before converting it to a standard format (claims 2 and
3), removing certain information and storing other information (claim 4), fail Alice
step two because “they merely describe the functions of the abstract idea itself,
without particularity.” Intellectual Ventures I, 850 F.3d at 1341. Rearranging,
adding and subtracting the conventional devices and systems involved in the
collection, manipulation and display of data to include (claims 6 through 13) does
not render the claims eligible either. See, e.g., Alice, 134 S. Ct. at 2351
(invalidating claims under § 101 where “the system claims recite a handful of
generic computer components configured to implement the same idea” as method
claims). For example, adding generic computer components and systems such as a
CDR (claims 6 and 9), a physiologic information system (claim 7), a clinical
research information system (claim 8), a driver to facilitate exchanging data (claim
10), systems with which a generic computing device can communicate (claim 11),
and a machine-specific data store with a cross-reference table (claims 12 and 13)
provides nothing inventive. None of these elements, viewed individually or

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      The “programmatic action” to be performed on the machine-independent

data is even less specific and fares no better at step two. A broader or more

generically-described function is difficult to envision.

      And, the “graphical user interface” of the claims is another generic feature

that provides no inventive concept. See Intellectual Ventures I, 850 F.3d at 1342

(holding “user interface” non-inventive as “akin to the generic interfaces we have

elsewhere explained impart no inventive concept”); DirecTV, 838 F.3d at 1262

(“graphical user interface” was non-inventive “generic feature” of the invention);

Amazon.com, 838 F.3d at (holding “customized user interface” to be non-

inventive); Capital One Bank (USA), 792 F.3d at 1370 (holding that “interactive

interface” was not a “specific application of the abstract idea that provides an

inventive concept).

      Considering the claim elements as an ordered combination does not alter the

conclusion at step two. Just as in Intellectual Ventures I, the claims recite generic

computer elements – bedside machines and an ordinary computing device – “and a

series of generic computer ‘components’ that merely restate their individual

functions.” 850 F.3d at 1341. Thus, “they merely describe the functions of the

collectively, “offers a meaningful limitation beyond generally linking the use of
the [method] to a particular technological environment, that is, implementation via
computers.” Alice, 134 S. Ct. at 2360 (internal quotations and citations omitted).




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abstract idea itself, without particularity,” thereby providing no inventive concept.

Id. And while the patent purports to have met a need in the art to integrate

physiologic data from with bedside machines using different data formats and

protocols, “[n]othing in the claims indicate what steps are undertaken to overcome

the stated incompatibility problems….” Intellectual Ventures I, 850 F.3d at 1342.

As in Intellectual Ventures I, “the claim language here provides only a result-

oriented solution, with insufficient detail for how a computer accomplishes it.” Id.

“Our law demands more.”        Id. (citing Elec. Power Grp., 830 F.3d at 1356

(cautioning against claims “so result focused, so functional, as to effectively cover

any solution to an identified problem”)).

      The solution claimed by the ordered combination of elements in claim 1

resembles the claimed “programmed conversion of numerical information” that the

Supreme Court long ago found to be ineligible in Gottschalk, 409 U.S. at 64

(internal quotations omitted), a decision upon which the Supreme Court relied in

Alice, 134 S. Ct. at 2354–55. In Gottschalk, the patent claimed a “method of

programming a general-purpose digital computer to convert signals from binary-

coded decimal form into pure binary form.” 409 U.S. at 65. The claimed method

was “a generalized formulation for programs to solve mathematical problems of

converting one form of numerical representation to another.” Id. It converted

“BCD numerals to pure binary numerals,” a process that could be done mentally



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through use of a conversion table. Id. at 66–67. The Court found that the claimed

method was patent ineligible because it was directed to an abstract idea that could

be “carried out in existing computers long in use, no new machinery being

necessary.” Id. at 67.

      The same holds true for the very similar method claimed by the ’251 patent.

It involves converting data “from a machine specific format into a machine

independent format” using a generic “computing device” that can apply a

“conversion table” to accomplish the claimed conversion. (’251 patent, claim 1,

8:46-62.) The conversion table, like the table in Gottschalk, simply correlates one

set of numbers to another. (Id., 8:46-62.) Thus, like the claimed method in

Gottschalk, the ordered combination of elements in claim 1 of the ’251 patent

provides nothing inventive to take it out of the abstract. See also Parker v. Flook,

437 U.S. 584 (1978) (method reciting formula for computing an updated alarm

limit during catalytic conversion processes “contains no claim of a patentable

invention” because “if a claim is directed essentially to a method of calculating,

using a mathematical formula, even if the solution is for a specific purpose, the

claimed method is nonstatutory.”) (internal quotations and citation omitted).

      Thus, just as with step one, the claims in this case in no way measure up to

those instances where courts have found an inventive concept to be disclosed. See,

e.g., DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1258 (Fed. Cir.



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2014) (claims that “overr[ode] the routine and conventional sequence of events

ordinarily triggered by the click of a hyperlink” held eligible); Bascom Global

Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1351 (Fed. Cir. 2016)

(installation of a filtering tool at a specific location, remote from the endusers, with

customizable filtering features specific to each end user represented a “technology-

based solution” in order to “overcome[] existing problems with other Internet

filtering systems.”).

      Viewed individually and as an ordered combination, the elements of asserted

claim 1 provide no inventive concept. The ’251 patent claims thus fail Alice’s

second prong as well.

B.    Plaintiff’s Conclusory Complaint Allegations And “Expert”
      Declarations Do Not Save The Claims
      Acknowledging that the ’251 patent is vulnerable to a § 101 challenge,

plaintiff sprinkled its complaint liberally with conclusions about the novelty,

benefits, and purported technological improvements of the claimed invention.

Plaintiff went so far as to submit two expert declarations with its complaint, one of

which attempts to ascribe details to the drivers and conversion tables of the

invention that are found nowhere in the patent (Dkt. 1-2, Declaration of Dr. Bryan

Bergeron, M.D., FACMI) and the other of which provides an immaterial discussion

of a product that purportedly practiced the patent (Dkt. 1-3, Declaration of Michael

D. Weiss, M.D.).


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      The Court need not look beyond the patent in determining whether it is

eligible under § 101 nor credit plaintiff’s or its experts’ conclusory assertions. See

Iqbal, 556 U.S. at 678 (“[T]he tenet that a court must accept as true all of the

allegations contained in a complaint is inapplicable to legal conclusions….”);

Mortg. Grader, Inc. v. First Choice Loan Servs. Inc., 811 F.3d 1314, 1325 (Fed.

Cir. 2016) (affirming court’s invalidation of patent as ineligible under 101 on basis

of patents alone despite expert testimony because patentee’s expert’s testimony did

not raise a genuine issue of material fact concerning patent eligibility). Indeed,

another court recently rejected this same tactic employed by another patentee

seeking to avoid an ineligibility determination on a motion to dismiss.           See

Appistry, Inc. v. Amazon.com, Inc., 195 F. Supp. 3d 1176, 1183 (W.D. Wa. 2016),

aff’d 676 F. App’x 1008 (Fed. Cir. Feb. 10, 2017). There, the patentee submitted

with its complaint the declaration of an expert, who opined that the claims of the

patents were novel. The court rejected plaintiff’s argument that the court must

accept the expert’s conclusions as true in considering the defendant’s § 101 motion

to dismiss, finding it to be “nonsense” and citing Iqbal. Id. Plaintiff’s position in

this regard was “absurd” because “[r]equiring the Court to accept such facts or

legal conclusions (even in the form of an early expert declaration) would permit

any plaintiff to circumvent the § 101 inquiry on an early motion to dismiss or




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motion for judgment on the pleadings simply by including a few lines attesting to

the novelty of the invention.” Id. at 1183 n. 6.4

      But even if the Court were to consider plaintiff’s experts’ declarations, their

content is immaterial to the § 101 inquiry. Neither declaration directly addresses

whether collecting data from bedside machines, converting it from a machine

specific format into a machine independent format, and then displaying it, is a

patent-ineligible abstract idea. A similarly deficient expert declaration offered in

opposition to a § 101 summary judgment motion was found to be immaterial by

Federal Circuit Judge William C. Bryson, sitting by designation in Kroy IP

Holdings, LLC v. Safeway, Inc., 107 F. Supp. 3d 677, 701 (E.D. Tex. 2015), aff’d

639 F. App’x 637 (Fed. Cir. Apr. 21, 2016). There, the declaration “focus[ed] on

asserting that the claimed [] system requires specialized programming, offers

certain efficiencies to users, and is not found in the prior art.” Id. But this was

immaterial to the § 101 inquiry because the declaration did not address whether the

idea at the heart of the patent “is an abstract idea that is not entitled to patenting.”

Id. The declarations here suffer from the same flaws and deserve the same fate.

      Several other courts have likewise disregarded expert declarations like Dr.

Bergeron’s and Dr. Weiss’s as conclusory and/or immaterial to the § 101 inquiry.

4
  Allowing such a maneuver also serves to defeat the judicial economy that an
early ineligibility determination can provide, including “spar[ing] both litigants
and courts years of needless litigation.” I/P Engine, Inc. v. AOL Inc., 576 F. App’x
982, 996 (Fed. Cir. 2014) (Mayer, J., concurring).

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In Orostream LLC v. ABS-CBN Int’l, No. 2:15-cv-248, 2015 WL 5836949, *4

(E.D. Tex. Oct. 1, 2015), aff’d 683 F. App’x 956 (Fed. Cir. Apr. 7, 2017) for

example, the court declined to “rewrite the claims” on the basis of a “conclusory”

expert declaration offered in opposition to 12(b)(6) motion to dismiss.          Dr.

Bergeron’s declaration is flawed for the same reason, as it seeks to tack on details

concerning the “drivers” and “conversion tables” of the ‘251 patent that are absent

from the patent under the guise of what a person of skill in the art would have

understood. (See, e.g., Bergeron Decl., ¶¶ 37-46.)

      The experts’ testimony concerning the novelty of and purported benefits and

improvements offered by the patented invention are likewise immaterial to the

eligibility inquiry. See, e.g., Williamson v. Citrix Online, LLC, 212 F. Supp. 3d

887, 903–04 (C.D. Cal. 2016) (court disregarded expert’s opinion that asserted

claims improved the function of computers and addressed a problem that arose

uniquely in the context of computers and computer networks because opinion was

“contradicted by the specification.”); Voxathon LLC v. Alpine Elecs. of Am., Inc.,

No. 2:15-cv-562, 2016 WL 260350, *4 (E.D. Tex. Jan. 21, 2016), aff’d 671 F.

App’x 793 (Fed. Cir. Dec. 9, 2016) (finding expert testimony concerning material,

non-generic limitations that rendered the claims patent eligible to be “inadequate”).

Moreover, novelty and non-obviousness involve separate considerations that do not

establish patent eligibility under § 101. See Ultramercial, 772 F.3d at 716 (“That



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some of the eleven steps were not previously employed in this art is not enough—

standing alone—to confer patent eligibility upon the claims at issue.”); Intellectual

Ventures I LLC v. Symantec Corp., 838 F.3d 1307, 1311 (Fed. Cir. 2016)

(concluding that asserted claims were patent-ineligible under § 101 even though

"[t]he jury found that Symantec had not proven by clear and convincing evidence

that any asserted claims were invalid under §§ 102 and 103.")).

      The ’251 patent is ineligible on its face, and the conclusory and immaterial

testimony of Dr. Bergeron and Dr. Weiss does not establish otherwise.

                              V.     CONCLUSION
      As Alice and its progeny establish, the ’251 patent is invalid. Defendants

therefore respectfully request that the Court grant their motion to dismiss this

action with prejudice.

DATED: September 8, 2017.       Respectfully submitted,



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               Certificate of Compliance with Local Rule 7.1(F)

       I hereby certify that this motion does not exceed the word limit set forth in
Local Rule 7.1(F) because the word count of this pleading is 7,294 excluding the
case style, signature block, certificate of service and tables.

                                          /s/ Trevor A. Thompson
                                         TREVOR A. THOMPSON




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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been
furnished to the following parties via the electronic filing system of the Northern
District of Florida on the date appearing on the Clerk’s CM/ECF electronic docket
(or on the following day depending on the recipient’s CM/ECF settings) to all
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Although no formal appearance has been entered by out-of-state counsel, a true
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